      Case: 3:20-cv-50088 Document #: 1 Filed: 02/27/20 Page 1 of 21 PageID #:1


                                 UMTED STATBS DISTRICTToURT
                                 NORTI{ERN DISTRICT OF ILLINOIS
                                       ffi'/-




    Perez C.Funches
   (Enter above the full name                     1:20-cv-01429
  of the plaintiff or plaintiffs in
  this action)                                    ,:i';:ril#;,.",x;,,J             Haqani
                          vs'
                                                                 ,tr   <-3
   Jason   Hermeyer                             Case   rru.
  Christopher' Melvin                           (To    be     supplied   by the Clerk of this Court)
  Wayne l,{alker
  Timothy Fisher
  John Craft
   JOnn varga
   John Baldlrin
  .Mark Delia
   Alan Pasley
  WATOCN W1IKS




 (Enter above the full name of ALL
                                                              m,EEEr\rtrE)
 defendants in this action. Do not                                     FEB   27 2020
 use "et al.")
                                                                 THOMASG BRUTON
                                                              CLERK, U.S. DISTRICT COURT
CIMCK ONE ONI,Y:

                COMPLAINT TINDER T}IE CIVIL RIGIilS ACT, TITLE 42 SECTION 1983
                U.S. Code (state, counry, or municipal defendants)

               C OMPLAINT UNDER THX C ONSTITUTION (,' B IVENS''                    A C TI oI\D,   TITLE
               28 SECTION 1331 U.S. Code (federal defendants)
                            f
               OTIIER (cite statute, if known)

BEFOKE FILLING OUT THIS COMPLAINT, PI.EASE REFER TO "INSTRUCTIONS FOR
      " FOLLOW THESE INSTRUCTIONS CAREFULLY.
FILING.
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li

       I.        Plaintiff(s):
                                        Perez C.Funches
                 A.          Name:
                 B.          Listall aliases. Tony Smith; Terrell l^/qtsonl Terrell Washington

                C.           Prisoner identification   number.   N-64546


               D.            Place of present   confinernent: Dixon C-orrectional Center

               E.            Address:     2600 North      Brinton   Ave   /   Dixon,lL.6L02l

              (If there is more than one plaintiff, then each pJaintiff must list his or her name, aliases,
              I.D. number, and current address according to the above format on a separate sheet of
              paper.)

     II.       Defendant(s):                     1 of 3 pages
              (In A below, place the fu]t name of the first defendant in the first blank, his or her
                                                                                                     official
              position in the second blank, and his or her piace of employment in ttre iirirO blank.
                                                                                                      Sp"C.
              for two additional defendants is provided in B and C.f                  .




             A.        Defendant: Jason Hermeyer
                       .F,.+r^.
                        ltrc.
                       _1.
                                Optical Industry Supenrisor
                                                       Dixon Correctional Center (2600 N. Brinton Ave)
                       Place of Employment:



                                    @tical Industry        Superintendent
                      Title:
                                                       Dixon Correctional Center (2600 N. Brinton Ave)
                      Place of Employment:

            C.        Defendant: Wayne Walker
                            (netire) Optical Industry Leadl{orker
                      Title:

                           Employrnent: (Retire Frorn Dixon Correctional Center)
                      Place of
                     ITUIE:"Please See Addti.tiorial Page To Continue llefendants NameT
            (If you have more than three defendants, then all additional riefencianis must be listed
            according to the above format on a separate sheet of paper.)
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D. Defendant.: Timothy Fisher
                                  rName   Of Defendants


   Title : Optical Industry LeadWorker
     Place    of   Enrployment: Dixon C.orrectional Center (2600 North Brinton Ave)


E. Defendant:John Craft
   Title: IDOC Lieutenant (lt.)
   Place Of Enrployment: Dixon C,orrectional C-enter (Z0OO North Brinton Ave)

E. Defendant: John Varga
     Title : Chief Administrative officer,lrlarden
     Place    0f   Enrployment: Dixon Correctional Center (2600 North Brinton Ave)


G.   Defendant: John Baldwin
     fitle:    IDOC   Director
     Place    0f   Bnployment:   Springfield,Illinois (f:Of    Concordia Court)

H. Defendant: Mark Delia
   Title: IDOC Investi-gation & Intelligence Unit C,hief
     Place    of   Employment:   Springfieldrlllinois (f:Of    Concordia Court, House 1313)

I. fufendant: Alan Pasley
   Title: PREA Compliance Administrator
   PLACE Of Bnployment: Springfield,Illinois              (1301 Concordia Court)


J. Defendant: (First        Name Unl<nown)    Wilks
     Titlez #2 Warden Of Operations
     Place of Bnployment: Dixon C-orrectional Center          (Z0OO   North Brinton Ave)

K.   Defendant: James Plartens
     Title: IDOC Grievance Officer
     Place Of Enrployment: Dixon Correctional Center          (Z0OO   North Brinton Ave)

L. Def endant : Chris   tine Terry
     Title: Counselor and Grievance Officer Asst.
     Place of Employment: Dixon C,orrectional Center (Z0OO North Brinton Ave)

                                              2a
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                                     r
                                     Nare   of   Defendants




M.   Defendant: Brandi Hendrix
     Title:   IDOC Counselor
     Place   of   Enployment: Dixon Correcti.onal Center (2600 North Brinton Ave)


N. Defendant: Jamie Weigand
     Tlt1e:   IDOC   qralified Mental Health professional (Q.M.H.P.)
     Place   of   Erploynent: Dixon Correctional Center (2600 North Bninton Ave)

0. Defendant: Arni Watson
     Title:      Qualified lrbntal Health professionat (Q.U.tt.p.)
              IDOC
     Place Of tsnploynent: Dixon Correctional C-enter (Z0OO North Brinton          Ave)


P. Defendant:       (Eirst   name unkncwn) gurke
     TiLle: ID0C Correctional Officer
     Place of tsrploynrent: Dixon Correctional C.enter        (2600 North Brinton Ave)




                                            2b
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                                                                                                  I




m.     Exhaustion of Administrative Remedies
                                                                                                  I




      You are required to exhaust all your available administrative remedies before bringing
                                                                                             an   l


      action in federal court.

      A.      Is there a grievance procedure availabre at your institution?

              YES ('io) NO     ( ) If there is no grievance   procedure, skip to F.

      B.      Have you filed a grievance concerning the facts in this complaint?

             YES    6:t) NO (    )

      C.     If your answer is YES:

             1.      What steps diC vou take?
                  Plaintiff fitea' (11) Grievances (t'tostly Brergency)
                  In Ttris C,ause Of Action
                                                                /
              Src;" A+k"t^lJ (og,ts          aF   6rir.r.rcrs
                    What was the result?
                    The Dixon C.C. Orief Administative          Officer   found


                    o-ffice,- and'/or has to process the Grievanc" (sr.h u" u co*selor).
                    rhus, these Defs. tends to prorong the proceis: not return
                    Grievancesl and or not adequately irnrestigate claims.

           3.     If the grievance was not resolved to your satisfaction, did you appeal? What
                   resulr (lr
           was the resuit (if-tfrere
                               rnere was no procedure for appeal.
                                                          appeal, so state.)
                                                                      state.
                   Plaintiff sent all -the srievancei tci the ID6C Director
                   for review, because the grievances are relaEed to
                    retaliatoiy conduct on 6ehalf,,: of State Enrployees,
                   and the act of cover-up (other State Employees not
                   wanting to take appropiiate actions against another Enployee)
                                wer-e returned by the ARB                     recel-ve a
                                rg Lh,a! the grieVances go                    Grievance
 D.        If your answei ii    . exDlarn wnv not:
                                          N/A
a
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         E.
                   B*l"g#XTiix,1fi[Rt:fi
         F.
                   .GRIEVANCE PRoCE
                   If there is no grievance    iHffi    1,ft?*iI.{!;H*sH.}1!glghtr."w*mc*rcy
                                                procedure in the instituii-on. Oia
                                                                          lrou complain to
                authorities?   YES(     ) NO( )
      G.        If your answer is YES:

                1.       What steps did you    take?
                                                       N/A




              2.        What was the result?
                                                        N/A




    H.        if your answer is NO, explain why no-t:
                                                       N/A
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   Iy'         List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
               court (including the Centrar and southern Districts of Illinois):

                      Narne of case and docket numtler:                           Funches              v.   Ebbert (s.0.               IfI.)
                                     638 F SuPP.2d 1014

              B.     Approximate date of filing lawsuit:                               2007

                     t
                                                    ## l rps*f" jf                                              g a ny
                         t                                         -p            nt i ns   ),
                             t   ll,rn   li:,   t
                                                                        I   ai                  i   n ciud in            a   Iiases:




              D.    List all defendanrs, M".Ebbert




          E.
                    :J,HilJli;:'*illlit,1yii.ltl'*t*.!'$ff aL'?tf r,tTB"thedistrict;irstate
          F.        Name of judge to whom case was assigned:                                           (unknor+n)



         G.        Basic claim made:                      Denied Access To Court,



         H.        Disposition of this case (for exampie: flas the case dismissed? Was it appealed?
                   is it still pending?): Iost at trrat



         I.        Approximate date of dispositlorr. 2009                              or           20L0

                    lUtn:(Ulease see attactred g3g
                                                              lof.2
IF YOU HAVE FILED ]VIORE T}IAN ONE LAWSTIIT, TIIEN YOU MUST DESCRIBE
TIIE ADDITIONAL LAI,VSIIITS ON ANOTHER PIECE OF PAPER, USING THIS SAN,IE
FOR-N,IAT. REGARDLESS OF HOW MA}[T CASES YOU HAVE PNNVIOUSLY
                                                                 FILED,
YOU 1VILL NOT tsE EXCUSED FROM FILLING OUT Tiiis SECTIONI COMPLETELY"
AND FAILLRE TO DO SO MAY RESI.ILT IN DISVtrSSAL OF YOTIR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES TIIEY HAVE FILED.
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                                       Continue   List 0f Lawsuits
                                                  2of.2

        A.   Name   of
                   case and dockeL nurnber: Eunches v. Love (Ooctet # unknown)
        B. Approximate date of filing lawsuit. z 2001
        C. List     all Plaintiffs:, Perez Funches
        D. List     all Deferdants: Chaplian Timothy   Iove
        E. court in r'rtrich lawsuit was filed:southern District of rllinois
        F. Name of judge to vrtrom was assigned: unknor^rn
        G. Basic claim rnade: Denied right to practice religious faith
        H. Disposition of the case: lost at a jury trial
        I. Approximate date of disposition: 2010




        A.   Name   of
                    case and docket number: Funches v. Jones (Oocket # unknown)
        B. Approxirnate date of filing lawsuit z2OtO or 2OLL
        e. List all Plaintiffs: perez Eunches
I



i       D. List all Defendants: Chaplian Jonesl t{arden Chandler; Warden O'Neal
        E. Court in wtrich lawsuit was filed:Northern District of Illinois -trTestern Division
        E. Name of judge to vrhom was assigned: MagisLrate I.Johnston
        G. Basic claim nrade: denied riglrL to practice religious faith
        H. Disposition of the case: enter into settlernent with defendants
        I. ApproximaLe date of disposition: 2OL3 or 2OL4

    .




                                             5a
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v.         Statement of Claim:

          State here as briefly as possible the facts of your case. Describe precisely how each
          defendant  i.q involved. Include also the rames of other persons involved, dates, and places.
          Do not give any Iegal arguments or cite any cases or statutes. If you intend to allege
          a number of related claims, number and set forth each claim in a separate paragraph. (Uie
          as rnuch space as you need. Attach extra sheets if necessarv.)
                   DEERWE) LIBERTY INIEREST At{D RETALIAIIN'1st & 14th

                                                                    (fpota
                                                     IUn fftr:r
                      srx)rllo've earneo (4u qays creor-E per conEracE. However,
                      he only received (38) days for one ard (26) days for the
                                        retaliated against and evenfirally
                      Gtiev-anceq, _he w-as
                      teminated'frqn his "Good fifle Earn Assisilrentt'.]


1. on or about April           L2.-20LB   at approx. 11:oo a.m. praintiff         spoke with
     Def .Hermeyer       concerning receiving the

     S




     uptrcar
     @t,ical Industry.
             rnous!1y. The_earned p.rggqam sentencing good time-Eiedlt
     pursuanr ro 730 rtCS 5/3-6-3 (4)-(tiEST Jan.1,261E).



2. Def .Hermeyer was allowing selective Innrate Industry trlorkers Lo work
   a (5) day work week (on Etidays sme irmat." ."*ir,g good tir* and
     mostly taose irmates not tnder good time contract working)
                                                                                  ) yei,
     Def.Hermeyer would not, arrange           the   "Good T

     reflects the creditirg for           good   tinr: in   accordance   to   rsork hours   arnd

     attendanc,e, pursuant        to 20 rrr.     .Admin. code 107.530; to7.54o         (b);also,
     Mminisrrarive Direcrive (a.o) 0L.L7.130 (10),(11),& (12)                     ),   "o
     Plaintiff     and those    similar situated under prograrn          good time contract
     could    still    receive the ful1 (45) days credit.
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                                NOIE: "The Good Time Contract initiately
                                       requlres 4nrs. per
                                       -requlres       per oay ano f oays        ;
                                       ho,wever, the 'Ciral St'atementt c'an

                                       to fulfill     said contract"
         Plaintiff       and those    similar situated under      "Program Sentencing
         C,ood   Time C,onLracttt was receving over 20          hrs. a we
         allowed to work (a) day work weeksl tnnever, because Fridavs were



         then anyone noL working on Friday

         denied fo.rrecei-ve fu11 contract

         reasons      only that can not be conduce to that of the plaintiff or
         those      similar situated not being allo
         the breach of Pla_int,iff 's "Program Sentencine Good Time Contract
        was  deliberately being caused 5y Def.UermeyeE. --


      3. Praintiff tried explaining to Def.Hermeyer that'he (oef.) was not
         acting in accordance to the 20 rllinois Administative code and th.

        Mministrative Directive as they rerate to rndustry kogram                     Good

        Time C-ontract.'r            Def.Hermeyer became      highly irritabre making statement,s
        about'hho he didn't work              for   (IDOC) and who   fr"   ai@
        tolalso,      how he     r,sill continue to run things as he see fit concerning
        who   will    r,york on Fridays      to- earn eood time and v*ro wouldntt.."
                 see : ( At   tacheil(ffoi           rIiii,
                                                pluiii        Grievance daLed 4-27-Lg)


              turE: "Please        see Attactred pages l{arked    7a-li    To continue clairn*"


vI.      Relief:-
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4. Plaintiff left    Def.Hermeyer's office and on April L3,20t8 reported to
     Def .Warden Wilks concerning 'how he (plaintiff) was fuUi[ing the 20hrs.
     require in the Industry Program C,ood Time Contract within (4) work days
     as oppose to (5) work days, ard how the 5th work day (nridays) was being
     reserved for Def .Hermeyerrs selective work crew (nrost of ttridr was not
     even receving good ti.ure) and how Plaintiff was not being awarded fuIl
     good time credit, because of the 5th day atLendance only, vftrich is unfair
     and not in accordance with 20 I11. Admin. Code regarding good time crediLs.rr
     Def.Wilks stated: "Plaintiff was right and should be awarded full good tirne
     credit if in fact the 20 hours require was being meet each week"ltherefore,
     he (0ef .) would speak with Industry Supt. Def .Melvin. However, Def .t{ilks
     didntt address this issue and to no avail did anything change concerning
     Plaintiff receiving his earned fu11 good time credits. Basically Def.Wilks
     turned a blind eye to Plaintiff's deprived liberty interest,.

5.   On April t4,20L8 Plaintiff went to the InstituLion's law library       and made
     copies of the 20 Illinois Administrative Code and Administrative       DirecLives
     relating to "rndustry Program sentencing     Good Time   credits.fl

6. on April    L6I20LB wtrile at work Plaintiff showed the Innrate Foreman Grevas #B-43tOt
     the copies of the 20 I11. Admin. Code and A.D. relating to the good time contract.
     and how by "changing the tGoal SLatementt to reflect the 20 hours accomplish
     within the (4) work day week could benefit those not selected to work on
     Fridays, thus, full good Lime credits can still be awarded." plaintiff
     requested the Innrate Foreman to explain this to Def.Hermeyer'how it is
     necessary and only fair to change the 'Goal Staternent' to reflect the work
     hours being accomplish, so that Plaintiff and those similiar situated canpletely '
     fulfilling the require 20 hours could be awarded full good time credit
     (erenthough they are not beirg allorsed to rcrk on Fridays)."


7.   On   AprilL7,2Ot8 Lhe inmate Forernan G:evas #8-43101 notified plaintiff that
 ttDef
        .Hermeyer wasnt t trying to hear anything coming from me regarding doing
     the rightthing about awarding of tProgram Good Timet and Fri-davs."
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 8.   On   April
               18,2018 Industry LeadtrTorker Def .Fisher called to Plaintiff 's
      Housing Lrnit 60-45 and order an trnauthori-ze shakedown of Plaintiff I s
      cell seeking alleged Industry contraband with hopes of being able to
      terminate Plaintiff from his Industry job. the Officer vrtro conducted
      the ceII shakedown was }tr.Mammosier (witness). Moreover, their is no
      IDoCrs Polices or Procedures that 'rgrant a civilian (oef.Fisher) the
      authority to order another Correctional Officer to shakedown an inmate
      celltt, because suctr authority has to be granted by a Shift Conrnander
      Officer. Def.Fisher was acLing on betralf of Def.Hermeyer merely
      because Plaintiff had been inquiring about the awarding of his good
      time credits. see: (Attached copy of plaintiff's Grievances dated
      4-27-Lg and 6-14-18)

 9. on May 112018 Plaintiff filed an "Etnergercy Grievance" dated 4-27-Lg
    regarding'hetaliation and Unprofessional Staff Corducttt concerning
      Def.Hermeyer.



10. on l{E,y 312018 Def .Melvin reassigned Plaintiff rs industry assignment. of
    almost (4) years to a entry level assignment, which created a decrease
    in Plaintiff's work hours (pay). Def.Me1vin's act.ions of reassigning
    Plaintif f from the Frame Dept. rn*rere Plaintiff had successfully
                                                                        worked
    for almost (4) years and received (2) pa.y inerease promotions had only
    occurred as a retaliatory act because of the ,'Grievance
                                                                dated 4_21_Lg
    filed against Industry Supervisor Def .Hermeyer."
             see:(Attached copy       of plaintiff's Grievance dated May 31 2olg)

11' on l{€,y 9r2ol8 Plaintiff received only (3s) days awarded ,,program
                                                                         sentencing
    c,redit" from a (90) days Good Time contract he signed
                                                            for Jan.l_ ,zoLg
    thur ApriL Lr2o78. Thus, Plaintiff should'.rHuurJed
                                                           the furl amount of
    (+:) aays credit from the aforementioned good
                                                    time contract pursuant
    ro 730 ILCS 5/3-6_3 (4) (r,msr 1_1-18):
                       rr
                                the Department shall mulriplied by a
                            1t'c,'r
                            tactor of 1.25 f,or kogram participation
                            before Aug.11       and 1.50 Proeram
                            participation rLgg3
                                          on or af ter that Zate t'-:'.-:k       rl
                                                                             .




                                               7b
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   Therefore, Plaintiff was entitle to .50 days of Program participation
   for the (90) days Cood Time Contract he signed for the months of
   Jan.1r20t8 thur April tr20L8, v*rich should've earned him (45) days
   good time credit (espeeially when Plaintiff had completed Lhe 20hrs.
   work week and the 5Lh day of attendance was being breadred by Def.Hermeyer).
       see:(Attached Copy of plaintiff rs Gri.evance daLed t{rry 9,2018)

12. on or about    April Lrzot} plainriff signed a second (90) aay program
    sentencing Good Time c,onLracL for the months of April 1r201g thur
    Jury 1,2018;horrever, "plainLiff only was awarded (26) days of good time
    ceediu r,itren he vas not the cause of the breactr that created the shortage
    of him not being awarded the fuIl amount. of (+5) days from said contraet."
    "see: (Attached
                      Copy of Plaintiff f s Grievarce dated Jtrne 25 ,2018 #tB-7-E2)
    Moreover, neither of the (2) contracts prainlfuff had signed contained
    a "Goal statersrt" for Lhe Plaintiff to ,ig#!6irorLh the "require conditions
    the Plaintiff had to fuIfill in order to be awarded the good time'r, thus
    without a signed "C,oal Statement" in a@ordance with the 20 ILL. Admln.
    code 107.530; 107.540 (b)1 also, Admin. Direcrive 0L.t7.130 (10),(tt),c
    (t21, then "the Def.Hermeyer  and Def.Melvin are allowed to breactr the
    good Lime contract and deprive Ptaintiffts liberty interest to receive
    futl good time credirs pursuanr ro 730 ILCS 5/3-6-3 (4) (tESf 1-1-1g)."



13. on t{ety LOr2O18 a full shop Industry meeting was call to address issues
    regarding "C,ood Timet' and the coming "Fiscal Year Inventory Sched.ule",
    at said meeting Def.Metvin alleged thaL a "five day work week will begin
    after the return from rnventory break on or about, July 9r201g." Also,
    Def.Hermeyer announced how'he would select the innrates he wanted
                                                                        to
    work durirg the (3) weeks of rnventory", and after Def.Hermeyer spoke
    concerning his Inventory plans...Def,Melvin closed the meeting with
    stating:"any further questions ones may have bring to the attention of
    the rnmate Foreman Ink.cuevas #B-43L)L, and he will be speaking with
    the (oefs.) following the nreeting and those questions will be addressed
   then.tt

                                   7c
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14.   Plaintiff    after the shop meetirg requested the Inrnate Foreman Cuevas
                  soon
    to address the issue of 'hould he (flaintiff) be credited his good time
   for all days leading up to July 9 r20L8, md or should he continue filing
   Grievances regarding being deprived good time credits?"
   Inmate Foreman Cuevas #B-4370L returned from his meeting with Def.Hermeyer
   p1d Def.Melvin stating:rrThey (named Defs.) said continue to file your Grievances."
   l46ieover, at approx. 10:30 a.m. of said date of shop meeting, as praintiff
   was leaving work he was stop by Def.thrmeyer and order to
                                                              report to work
   the next day (wtrich will be on a Ebiday).


15. On Yle.y LLr2}tB when Plaintiff reported to work (friday) he notice a message
     written on the hrlletin Board              "Effective }4onday l{e,y !412018 The
     sLrop will starL working (5) Days A week." plainLiff was
                                                                       escorted by
      rnmat'e Foreman cuevas #8-43101 too the Tool Cage
                                                          and requesLed Lo sign-out
     a scraPer, ffid was Lhen lead to the Lab by said Innate
   ttPer Def.Hermeyer                                            Foreman and told:
                          orders, Plaintiff needed to scrape the pofisfr off the
     floor on his knees around the Polish l,,lachinery and Lhen clean the polish
     off said machines." (tris was a assignrnent giving to Plaint,iff to perform
     for (4) hours an order to require the hours needed for that day to earn
    good time. Ibreover, no other Innrate worker had been or was require to
    do this work assignment, and their is/was modern day equipxnenL to use,
     to do this type of job more suffice and easy.)
      As Plaintiff tried to perform the aforementioned duties, he notice LeadWorker
       Def .I^/alker walk by several times with a devilish smirk on his face vfrrile
       observing Plaintiff work on his kneeslalso, at some point. vfiile working
      Plaintiff had an errie feeling like someone was watching him and vrtren he
      looked over his shoulder rnltrile still on his knees, he notice "Def.Hermeyer
      standing in the door entrance to the l-ab watching wilh the same smirk on
      his face obseruing Plaintiff perform this "corporal type of task"."
    Plaint,iff had no other choice (at. that, time & day) but to fellow
    instruction and perform the work assignment an order to earn a day credit
    of good tinp;however, said assignrnent was giving Lo Plaintiff as an
   "act of retailation; humiliationl intimidationl and as a way to exort
    authority towards Plaintiff from Def .Hermeyer."
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                      CRUH, Al{D UNUSUAL PUNISHMEI\T AUD REIALIATICN     1st   &
                      8th u.s.c.A. AI.{E{tr,IEItr \rrolArrcbl [plaintiff was
                      subjected to repeated trunilating; intimidatirg;
                      turassirg;  and self-gratification NonAdministrative
                      r:nauthorize searches condrrcted by Civilian (non-
                      secrrity) @loyees working within         IDOC]


16. As   Plaintiff  would leave from work each day at approx. 10:10 a.m. or
      10:30 a.m. Def.Hermeyer would notice and then order Plaintiff and
      those departing along with him (fhintiff) to become subjected to
      a search before leaving. Moreover, Def .l'bhrin has been present a
      few time watching these searches take place conducted by "Def.Hermeyer,
      Def .walker, and Def .Fisher". As well, Def .Hermeyer and Def .l,Jalker had
      started getting a little to physicat wiLh the alieged pat and frisk.


L7.   on June LL'}]LB    at approx. 10;10 a.m. Plaintiff      was leaving work when
       Def.Hermeyer   notice and order plaintiff to be subjected to a searchl
      however, Def.Hermeyer allowed one inmate worker to leave unsearched
      and another rnmate Borgmann #R-47665 (witness) who was directry in
      fronL of Plaintiff was barely searched by Def.Hermeyer. yet, "Def.Hermeyer
      starting searching Plaintiff in a disrespectful sexual in nature manner
       (gropping Plaintiff's groin area and squeezed plaintiff's upper chest,
        with rubbing his (oef.'s) hand over plaintiff's back pockeL area),
        Def.Hermeyerts search of Plaintiff was done in a harassing, intimidating,
        sexual, and retariating manner." see (Attached copy of praintiff's
        Grievance dated June 11_ r2OL8)
        Moreover, Plaintiff left work in a torment and hysteria state and reported
        the afroementioned staff misconduct to Lt.Haime (witness), ard all the vrtrile
        Plaintiff was trying Lo explain to Lt.Haime r,*rat had just taken prace
        "tears of anger and hmlliati-or flowed from his (rlaintiff ,s) eyes.,,
         Plaintiff was requested by Lt.Haime to file u "!EEA" craim against
         Def .Hermeyer, vrtrich plaintiff did with said Lt. assi_stance.
         Plaintiff was escorted by Lt.Haime to the Health care Ljnit to be seen
         by Mental Hearth trlorker Def .Weigand and then secondly seen by the
         Ibdical staff Vtrt us.Jackson (witness);also, third praintiff was seen
                                                                                by
         r.A. Officer Def.craft. Def.craft instructed plaintiff not to return
         to work until he (oef.) could look into the matter, and Lt.Craft stated:

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      'he couldn't believe the Industry staff could be so stupid to cont,inue
       conducting themselves this way, because he was told that the sexual
       game-playing over there had stopped and/or atleast slowed down".
       Def.Craft lcrew this was not the first report of sexual misconduct
       that had been made against certain Dixon C.C. Industry Personnel
       (mainly that of Def.Herneyer and Def.Walker)".

18.   plaintiff went to the Institutionts Law Library to review the Industry's
      Administrative Directives concerning "civilian conducting innrate searches",
      and learned that "per A.D. 0t.t7.101 G-3 (4,e):[ the Ckrief Administrative
      Officer (of the facility) shall provide security staff as needed uo
       supenrise non-productive activites such as offender movement, shower,
       and seardtes.]" Therefore, all the alleged searc,hes Plaintiff had to
       endure by Def .Hermeyer, Def .!ilalker, and Def .Fisher were t'norra&ninistrative
       unauthorize searctres being conducted for the sole purpose of intimidation,
       harassment, personal gain/touchirg - feeling satisfaction, and retaliatory
       pr-rristment." see:(Attached Copy of Plaintiff 's Grievance dated 6-14-18)




                        DENIED   U]E         14th U.S.C.A. AI.{ENM,IENT
                                       PROCESS
                        VIOIATION [ehintiff was denied due process
                        tihen other State ftployees wtrile actirg trnder:
                        color of law 'T\Ened A Blind Eye To Staff
                        Misconduct", ttrus refusing to do their job
                        duties of "recording & doer-rnenting " ard
                        "adequately investigating claims of misconduct
                        by other State @loyees!'; thereby, becming
                        Co-Conspirator to their Co-workers actions]

19.   plaintiff tried requesting Def.Ms.Hendrix, Def.Marten, and Def.Ms.Terry
      to adequately irnrestigate his (fhintiff 's) claims of "unprofessional
      staff misconduct and retaliat,ion"lhowever, the named Defendants knowingly
      ignore and/or didntt want, to believe Plaintiff's allegaLions concerning
      State Enrployees working under the color of law, so the Defendants choose
                                          7t
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  to turn a blind eye to other State Enrployees' unprofessional misconductl
  thereby, the named Defendants did little to nothing at all, thus,
 denying Plaintiff due process and equal protection tirats guarantee
 under Lhe United StaLes Constitution.
  see:(Attached Copy 0f Plaintiff's Cover-Ietter dated June 2,2018 and
  Grievance dated June 25,20L8 #18'7-E1)

20. plaintiff remained for days (after befug sextrally harass) stressed, menLally
    conflicted, sad/w much anxiety, and not being able to properly sleep at
    night. Therefore, he (Plaintiff) sought mental health counseling [seen by
      R/N t,ts.Wick (Witness) on 6-19-18 and referral was nmde to the Mental
    I{ealth Dept.];also, on June 2lr2OL8 Plaintiff requested his Social Worker,
    Ms.Jaquet (Witness) to assist him with receiving mental healLh counseling
    for his anxiety (referral was allegely made to the Mental Health Dept,.).
    llorever, to no avail would anyone from the Mental Health Dept contact
      Ptaintiff.   see:(Attached Copy Of    Plaintiff's   Grievance dated June 25,2018
      #18-7-E1)


21.   On July 2 r20L8 Ptaintiff went on a "[tunger Strike" seeking mental health
       care. On JuIy 3r20L8 v*rile on said strike Plaintiff spoke with Mental
       Health Professional,Dr.Adydan (witness) vftro stated:"she would make a
       referral to the person assigned to Plaintiffts last, name alphabet and
       request them to see Plaintiff soon regarding mental health issues."
       Plaint,iff remained on the hunger strike until July 5 r20tg when he was
       assigned to speak with Mental Health ProfessionalrDef .Ms.I,{atson.
       Also, vilrile on the hunger strike Plaintiffts medj-cal needed back brace
       was taken by Def.Burke, which said Def. revealed weeks later that his
       retaliatory acts of taking Plaintiffts medical back brace was done
       apparent.Iy because "Plaintiff had filed , "EBEA" claim against a
       staff member." see: (Attached Copy Of Plaintiff's Grievance dated 7-2yt8          )




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22. PLaintiff learned after seeking copies' of his mental health records
    thal neither Def .Ms.l,/eigand or Def .Ms.tr]atson had ttrecorded nor
    doctnented" their mental health session with him (plai-ntiff ), ard
    it. became clear 'how when Plaintiff was speaking with the named
    Defendants l*ry they appear and acted rmacceptive as to his complaints
    concerning staff misconduct.r' Moreover, Plaintiff tried explaining
    to the named Defs. (Mental Health staff) how 'he had been targeted
    by the rndustry staff, because he spoke up for his earned good time,
    and how it, lead to inappropriate searches and noL being allowed Lo
    return to work. breover, how not being arlowed Lo earn good Lime
    now i-s affecLing him not being able to go home soon to his very ill
    daughter and elderry l,{otherlthereby, causing him to be under more
    stress and anxiety.tt see:(Attached Copy of Plaintiffts Grievance          daLed
    Aug.28,2018)



23. On or about July 9,2018 Def.Melvin had the Institution's Placement, Officer
    to ,r,"ssiSuiP3fiffrr" Dixon c.c. opricar rndusrry while prainriff 's
    "t**" claim was still pending. Def .Melvin terminated Plaintiff from the
     Optical Industry Job Assignment only because "Plaintiff had filed
     . "PREA" claim against Industry SupervisorrDef.tiermeyer and because
     Plaintiff was the lilristle Blower as well in a Aug.4r2oll & Aug .5,2017
     "PREA" allegation against Def .Melvin, Def .Hermeyer, md Def .walker
     regarding sexual misconducL on other Inrnate Industry Workers (urainly
     one particrrlar irrnate rmrker (l*ro) was ADA narne tlaniel Iord).
     see:(Attached copy   of plaintiff's   Grievance dated   July   11,201g)
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24. Defendants "Chief Administrative Officer          Varga; I.A. Officer,Lt.Craft;
                                                          Warden
    PREA Coordinator AIan Pasley; IDOC Director Baldwin; and Springfield IDOCTs
    Investigation & Intelligence Unit CLrief,Mark Delia" all choose to ignore
    atd./or turn a blind eye to the sexual miscordtrct "@" claims made on
    Aug.4,20L7 and Aug.5r20L7 regarding Inmate l,/orkers being targeted for
    sexual games by the Opt.ical Industry Personnel. see:(Attached Copy of
    Plaintiffrs Grievance dated June 11,2018) Also, the sexual miscondut claim
    made on 0ct.4r20L7 by an Inmate trTorker Richard Serrano #8-77778 involving
    the same afroementioned State Enrployees (Oef.Hermeyer, Def.Melvin, and
    Def.Walker). see: (Attached Copy of Grievance dated LO-4-ZOLUw photo)
    The named Defendant did little to nothing regarding the sexual misconduct
    claims made against StaLe Employees working under the color of law. trereby,
    on June LLrz)tB vrhen Plaintiff became a victimj;of sexual miscorfrrct by
                               a   rtBEArr
    Def.Hermeyer and made                    claim, "the    same named above Defendants
    continued to "turn a blird eye" rniLrile they were working under the color
    of law, to this type of unprofessional staff misconduct;therefore, condoning
    "Plaintiff to be subjected to retaliation acts and victimize to sextral
    harassment." Jee-:   (+{+shJ      <"?1   *    }|<;t,$P> Gr,r,r.... J.1"} 4.r;.a ),i,1lg


                                       CLOSING


25. All the named Defendants in this cause of action vftrile acting under
    Lhe color of law in their offical eapacity knowingly and intentionally
    violated Plaintiffrs 1st, 8th, & 14th constitutional                 amendments   in
    one si-nce   or another.




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              1f you need additional space for ANY section, please attach an additional sheet and reference that section.l




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F.-.., (.             t'unrL e S                                                   United States District Court
                                                                                   Northern District of lllinois
                      Plaintiff

                      v.
\.,   : o,.   /*r*"7rr,             "*      ^[
                      Defendant

                                                     COMPLAINT



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                                                                                                              that section.]
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   Statebriefly exactly r,vhat you want the court to do for you. Make no legal arguments.
  Cite no cases or statutes.
  plaint.iff seeks cornpensaLory damages from each named defendant
    in their offical cipacity while acting under color of                       law;
    a
    defendant in their    offical capacity wtrile acting under
    color oI law.
    The amount    of said sought damages shall be determine later.
        Moreover, Plaintiff seeks a jury trial in      cause of ac




                                                        CERTIFiCATION

                      By signing this Complainr,      I cerrify thar rhe facts stated in this
                      complaint are true to the best of my knowledge, information and
                      belief. I understand that if this certification is not conect, I may be
                      subject to sanctions by the Court.

                      Signeci tiiis   6-\,       ciay   of             ,   20   eo
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                                          C
                      (Signarure      plaintiff or plaintiffs)
                          Perez C.Funches

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